
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-028-CV



T &amp; S PROPERTIES 2, L.L.C.	APPELLANT



V.



JIMCO SALES &amp; MANUFACTURING, 	APPELLEES

INC. AND TRINITY MARKETING 

&amp; DISTRIBUTING CO., INC.	

----------

FROM THE 96
TH
 DISTRICT COURT 
OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered the parties’ “Agreed Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the 
party incurring the same, for which let execution issue. &nbsp;
See 
Tex. R. App P.
 
43.4.

PER CURIAM

PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: &nbsp;June 22, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




